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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTERN DIVISION
JOSE OSCAR CHAVEZ, et al., )
Plaintiffs, § No. 03-2932 M]/P
v. § JURY TRIAL
NICOLAS CARRANZA, § JUDGE McCALLA
Defendant. § MAGISTRATE JUDGE PHAM

STIPULA'I`ION AND AGREED ORDER TO CONTINUE TRIAL DATE
AND AMEND PRE-TRIAL SCHEDULE

Due to a family emergency encountered by Defendant’s counsel and after consultation
with the Court’s Case Manager, the parties, by and through counsel, stipulate and respectfully
request that the Court continue the trial date and all pre-trial deadlines for a period of six Weeks.

A six-week continuance Will alter the existing discovery schedule, as agreed to by the parties, as

 

 

 

 

 

 

 

 

follows:

Event Prior Deadline Revised Deadline
Comp]ete Requests for May 13, 2005 June 24, 2005
Admissions
Expert Depositions April 15, 2005 May 27, 2005
Filing Dispositive Motions May 13, 2005 June 24, 2005
Depositions for Proof July l, 2005 August 12, 2005
Joint Pretrial Order and August 23, 2005 October 4, 2005
Propgsed ]ury lngtyuctions No later than §-'.00 p.rn. No later than 5+90 p.m.
and Voir Dire Questions lt go H:;O
Pretrial Conference September 6, 2005 October 18, 2005

9:00 a.ni. 9:00 a.rn.

 

 

Jury Trial Set to Begin

 

Septern‘oer 19, 2005

 

October 31, 2005

 

 

This document entered on the docket sheet in compliance

with sure ss and/or rs(a} FHcP on ,_‘§§L._S___

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Dated: April 26, 2005

Respectfully Submitted,

    

Robert M. Far arson, Esq.
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65 Union Avenue, 9th Floor
Memphis, TN 38103

Counselfor Defena'ant Nfcolas Carranza

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Counselfor Plaimijj%

ORDER

 

rr rs so oRDERED, this az day er m 05 2005. rhea-ial date

and pre-trial deadlines shall be continued for six Weeks in accord With this schedule

raw

H . JON P. MCCALLA
ITED STATES DISTRICT JUDGE

 

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CERTIFICATE OF SERVICE
l hereby certify that a true and correct copy of the foregoing has this day been served
upon the following counsel for the Defendant by depositing a copy thereof in the United States

Mail, postage prepaid, this 26th day of April, 2005.

Robert M. Fargarson, Esq.
Fargarson & Brooke

65 Union Avenue, 9th Floor
Mernphis, TN 38103

Counselfor Defendant Nfcolas Carranza

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This notice confirms a copy of the document docketed as number 29 in
case 2:03-CV-02932 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

